Case 1:25-cv-00107-SDN           Document 4       Filed 03/28/25      Page 1 of 2     PageID #: 17




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

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Richard MOLINA SANIPATIN,

        Petitioner,


v.

Pamela BONDI, Attorney General, U.S. Department of
Justice; Kristi NOEM, Secretary of the U.S. Department          Case No. 1:25-cv-00107-SDN
of Homeland Security; Pete R. FLORES, Acting Director,
U.S. Customs and Border Protection; Juan G. BERNAL,

Chief Patrol Agent of Houlton Sector; Scott
NICHOLS, Sr., Sheriff, Franklin County Detention
Center,

        Respondents.

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                  UNOPPOSED MOTION TO TRANSFER VENUE
           TO THE DISTRICT OF NEW HAMPSHIRE WITH INCORPORATED
                           MEMORANDUM OF LAW


     Petitioner, Richard Molina Sanipatin moves this Court to transfer this matter to the District of

New Hampshire. In support of this motion, Petitioner states the following:

1. Petitioner commenced this action, seeking a writ of habeas corpus directing Respondents to

     release him from custody, alleging that he was being unlawfully held in the Franklin Count

     (Maine) Detention Center.

2. On March 25, 2025, Petitioner has been moved by Respondents from Franklin County

     Detention Center to Strafford County Correctional Facility located in Dover, New

     Hampshire.

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Case 1:25-cv-00107-SDN          Document 4       Filed 03/28/25      Page 2 of 2     PageID #: 18




3. The change in Petitioner’s current location causes the U.S. District Court for the District of

   New Hampshire to become the proper venue and jurisdiction in this matter, in the interest of

   justice. Tham v. Adducci, 319 F. Supp. 3d 574 (D. Mass. 2018).

4. Assistant U.S. Attorney John Osborne has advised the undersigned that the United States

   does not oppose this motion.



                                    PRAYER FOR RELIEF

WHEREFORE, Petitioner prays that this Court:

   1) Grants this Motion to Transfer Venue;

   2) Transfer this matter to the U.S. District Court for the District of New Hampshire; and

   3) Grant any other and further relief that this Court deems just and proper.



       Dated at Portland, Maine this 28th Day of March, 2025.


                                                     Respectfully Submitted,

                                                     /s/ Melissa A. Hewey
                                                     Melissa A. Hewey
                                                     Attorney for Petitioner

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                                                     /s/ JoAnn A. Dodge
                                                     JoAnn A. Dodge
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                                                     (pro hac vice petition forthcoming)
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